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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

COR CLEARING, LLC, a Delaware limited             ) Case No. _________________
liability company,                                )
                                                  )
                                                  )
                              Applicant,          ) APPLICANT’S MEMORANDUM OF
                                                  ) LAW IN SUPPORT OF MOTION TO
                      vs.                         )      COMPEL PRODUCTION OF
                                                  )    DOCUMENTS AND THINGS IN
NATIONAL FINANCIAL SERVICES LLC,                  )      RESPONSE TO SUBPOENA
                                                  )
                                                  )
                              Respondent.         )
                                                  )
                                                  )
                                                  )


       COMES NOW Applicant COR Clearing, LLC (“COR Clearing”) and hereby moves for

an Order to Show Cause why National Financial Services LLC (“NFS”) should not be compelled

to produce documents and things responsive to COR Clearing’s subpoena served on December 8,

2015. In support thereof, and to remedy NFS’s complete failure to respond to or acknowledge

the subpoena, COR Clearing respectfully shows the Court as follows:

                                   I.       INTRODUCTION

       In a pending lawsuit in the United States District Court for the District of Nebraska titled

COR CLEARING, LLC, a Delaware limited liability company, vs. CALISSIO RESOURCES

GROUP, INC. a Nevada Corporation; ADAM CARTER, an individual; SIGANTURE STOCK

TRANSFER, INC., a Texas Corporation; and DOES 1-50, 8:15-cv-00317-LES-TDT, COR

Clearing seeks to remedy a harm caused by Defendants Calissio Resources Group, Inc.

(“Calissio”), Adam Carter, and Signature Stock Transfer, Inc. (“Signature”).          Because of

fraudulent actions undertaken by Calissio and Carter, funds were unlawfully debited from COR
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Clearing’s accounts in order to fund unauthorized, unlawful, and void due bills paid to purported

shareholders of Calissio in connection with the transfer of shares not entitled to dividends.1

Because some of those due bills were paid to NFS (and, upon information and belief, credited to

NFS’s customers), NFS is in possession of information highly relevant and material to COR

Clearing’s lawsuit.

         COR Clearing lawfully issued and served a subpoena on NFS in order to discover this

highly relevant information, and COR Clearing files this Motion because NFS has failed to

respond to, or even acknowledge, the subpoena. The subpoena seeks, among other things, the

identity of entities that gained an unjust windfall at COR Clearing’s expense; it also seeks

information regarding the true extent of the fraud and unlawful activity perpetuated by

Defendants.     NFS, for its part, has ignored the subpoena (as well as multiple other

communications from COR Clearing), forcing COR Clearing to file the instant Motion to secure

NFS’s compliance with the lawfully and duly issued subpoena. For the reasons stated below,

COR Clearing respectfully requests that the Court grant the Motion, order NFS’s full and

complete production of documents responsive to the subpoena, and grant COR Clearing such

other relief as to which COR Clearing is entitled.

                              II.    FACTUAL BACKGROUND

      A. The Subpoena Seeks Material Information Relevant To COR Clearing’s Lawsuit




1
  Where a dividend is announced and a dividend-eligible stock is sold between the record date
and the ex-dividend date, the seller is assessed a “due bill” that represents the right of the
purchaser to receive the dividend presumably paid to the seller, who was the shareholder on the
record date. The due bill process is utilized because the issuer of the dividend will ordinarily
send a dividend payment to the shareholder on its books as of the record date, the last record of
ownership available to the issuer, rather than to the legal owner of the dividend right: the
shareholder as of the ex-dividend date.


                                                 2
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         The subpoena at issue here (the “Subpoena,” attached hereto as Exhibit A), seeks highly

relevant, critical information relating to COR Clearing’s lawsuit against Calissio, Carter, and

Signature. As extensively detailed in COR Clearing’s lawsuit and supporting affidavits, attached

hereto as Exhibit B, COR Clearing was the victim of an extensive fraud perpetuated by Calissio

and Carter, resulting in an unjustified credit to NFS’s accounts.

         To execute their fraud, Calissio and Carter took advantage of a weakness in the due bill

payment system implemented by Depositary Trust Clearing Corporation (“DTCC”).2               On

September 30, 2010, Calissio issued a large number of shares of Calissio stock at a cost basis of

$.01. On June 1, 2015, Calissio announced that it had scheduled a dividend payment for

August 17, 2015; specifically, it announced that on August 17, 2015, a cash dividend of $0.011

per common share of the Company was “to be paid to the holders of the issued and outstanding

Common Shares as of the close of business on June 30, 2015.” (Declaration of David Aronoff,

attached as Exhibit B-1, at ¶ 5.) Those shareholders who owned the stocks as of August 19,

2015, were the ones entitled to this dividend. (Declaration of Carlos Salas, attached as Exhibit

B-2, at ¶ 17.)

         What Calissio failed to disclose in its multiple press releases, however, was that after

June 30, 2015 (the “record date”), it issued hundreds of millions of new shares of common stock

in connection with the conversion of convertible debt previously issued by Calissio. (Salas Decl.

¶ 18.) These new shares totaled approximately four times the number of shares outstanding as of

the record date of June 30th. (Id.) Because the new shares (which totaled approximately 80% of




2
 Because of the complexity of the fraud and DTCC’s interim accounting procedures, a brief
summary is provided in this Motion. A more complete explanation and description of the fraud
may be found in COR Clearing’s Original Complaint, and the affidavits of Carlos Salas and
David Aronoff, attached hereto as Exhibit B.


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all Calissio shares available) were issued after the record date, they were not eligible for the

dividends attached to the previous shares. (Salas Decl. ¶ 17.)

         Even though only roughly 20% of the available Calissio shares were eligible for the

dividend, DTCC assessed and paid due bills on all shares of Calissio stock that transacted

between June 30 and August 19. (Salas Decl. ¶ 10.) This resulted in a massive error that took

money belonging to others out of their accounts and paid it into the accounts of Calissio and

other parties who were not entitled to it.3

         A significant portion of those credits were funded by debits wrongly charged against

COR Clearing’s accounts. On August 20 and 21, 2015, DTCC debited COR Clearing for

approximately $4.0 million relating to these erroneous due bills assessed on the shares sold by

COR Clearing’s customers.

         Relevant here, the error resulted in credits made to NFS’s accounts. NFS is a broker-

dealer that offers securities transaction settlement services to its customers. As such, NFS

facilitates its customers’ purchase of stock shares on the OTC Markets.4 COR Clearing is aware

of facts indicating that NFS’s accounts were credited with due bill payments. Upon information

3
  Not only did DTCC pay dividends on the 80% of shares that were not dividend-eligible because
they were issued after the June 30th record date, but a large portion of this money went to
Calissio because of Calissio’s stock repurchase program. Essentially, Calissio defrauded the
market by discreetly issuing shares of Calissio stock that were not dividend-eligible and then
buying back those shares, knowing that DTCC’s normal course of action is to collect due bill
payments from companies and pay the funds to the current holders of the shares for all shares in
its system without verifying whether the shares or the recipients were actually eligible for the
dividend payments that would have justified the due bills.
4
  COR Clearing supports straight through processing of equities, options, mutual funds and
fixed-income products, complemented by a fully-automated back office staffed with responsive
professionals. In this capacity, COR Clearing supports independent broker dealers who have
customers who want to trade stock on the various markets, including the OTC Markets, which
serves corporations such as Calissio. COR Clearing facilitates trades supported by the market,
which allows independent broker dealer customers (such as NFS) to buy and sell stock through
their accounts. (Salas Decl. at ¶ 8.)


                                                4
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and belief, those funds ultimately went to NFS’s customers. As a broker-dealer that settled the

purchase transactions for the Calissio shares, NFS has relevant information related to its

customers’ purchase of the Calissio shares and the improper payments of due bills to those

shareholders including, but not limited to, the identity of those customers and amounts credited.

   B. NFS Has Ignored COR Clearing’s Communications And The Issued Subpoena.

       Because NFS was credited with improper due bill payments, NFS is in possession of

information highly relevant to COR Clearing’s lawsuit and claims. In light of that role, and prior

to serving a subpoena, COR Clearing sent multiple notices to NFS regarding the underlying

litigation, all of which have been ignored by NFS.

       For instance, on October 20, 2015, COR Clearing sent a letter to NFS notifying it of the

proceedings in the United States District Court for the District of Nebraska and explaining that

COR Clearing believes NFS’s customers might have been credited with improper due bill

payments. (See Oct. 20, 2015 Letter from Michael Hilgers to NFS, attached hereto as Exhibit

C.) On November 12, 2015, COR Clearing sent another letter to NFS again explaining that

NFS’s customers received the improper due bill payments (and thus are holding money

belonging to COR Clearing), and requesting that NFS freeze those credits and return them to

COR Clearing. (See Nov. 12, 2015 Letter from Michael Hilgers to NFS, attached hereto as

Exhibit D.) NFS ignored these letters.

       On December 8, 2015, COR Clearing served the Subpoena on NFS. (See Subpoena to

Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil

Action, attached hereto as Exhibit A.) The Subpoena set a response deadline of December 18,

2015. (Id.) NFS, however, has not responded to the Subpoena in any way. It has not produced

the documents requested, and it has not lodged any objections to the Subpoena. Thus, COR




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Clearing is forced to seek the assistance of this Court to compel NFS to produce the information

sought.

                           III.   ARGUMENT AND AUTHORITIES

          Under Federal Rule of Civil Procedure 45, when a non-party is served with a subpoena, it

must either produce the information requested by the date set forth in the subpoena, or it must

take some act to resist the subpoena—either serving objections, moving to quash, or moving for

a protective order—within the earlier of 14 days after service or the time for compliance. See

Fed. R. Civ. P. 45(d)(2), 45(d)(3), 45(e); see, e.g., Schweizer v. Mulvehill, 93 F. Supp. 2d 376,

412 (S.D.N.Y. 2000). If a subpoenaed non-party fails to take action to resist the subpoena within

the 14-day period, all its objections to the subpoena are waived. Id.; Carey v. Air Cargo Assoc.,

Inc., Nos. M18-302, 09-2353, 2011 WL 446654, at *3 (S.D.N.Y. Feb. 7, 2011) (holding that

non-party who “chose to ignore the subpoena entirely” waived all objections).

          Here, NFS has been utterly silent since being served with COR Clearing’s Subpoena.

NFS has not contacted counsel for COR Clearing. It has not produced responsive documents. It

has not lodged any objections to the Subpoena. And it has not moved the Court for a protective

order or to quash the Subpoena. Consequently, NFS has waived its objections to the Subpoena,

and it should be compelled to produce all responsive documents in its custody, possession, or

control.5




5
  As COR Clearing is moving to compel for failure to respond to a subpoena under Federal Rule
of Civil Procedure 45, COR Clearing was not required to meet and confer with NFS regarding
the relief sought herein. See, e.g., Travelers Indemnity Co. v. Metropolitan Life Ins. Co., 228
F.R.D. 111, 115 (D. Conn. 2005) (“Travelers is correct that its motion is governed by Rule 45
and thus not subject to the obligation to meet and confer under Local Rule 37.”). In any event, in
light of NFS’s repeated failure to respond to any of the multiple communications sent by COR
Clearing, COR Clearing’s attempt to contact NFS have been futile.


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                                    IV.     CONCLUSION

        For the foregoing reasons, COR Clearing respectfully requests that the Court issue an

 order compelling NFS to produce all documents in its custody, possession, or control that are

 responsive to COR Clearing’s Subpoena, award COR Clearing its fees incurred in pursuing this

 Motion, and award such further relief as to which COR Clearing might be entitled.


Dated: December 31, 2015                    Respectfully submitted,

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